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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 JOHN PAUL MAC ISAAC,                            )
                                                 )
                       Plaintiff,                )
                                                 )
          v.                                     )   C.A. No. 23-247 (MN)
                                                 )
 CABLE NEWS NETWORK, INC., ADAM                  )
 BENNETT SCHIFF, POLITICO LLC,                   )
 ROBERT HUNTER BIDEN, AND BFPCC,                 )
 INC,                                            )
                                                 )
                       Defendants.               )

                                            ORDER

       At Wilmington, this 24th day of March 2023, for the reasons set forth in the Memorandum

Opinion issued on this date, IT IS HEREBY ORDERED that:

       1.      The United States’ Motion to Substitute (D.I. 4) is GRANTED.

       2.      The United States is hereby substituted as a defendant for Adam Bennett Schiff.

       3.      The United States’ Motion to Dismiss for Lack of Subject Matter Jurisdiction

Pursuant to Rule 12(b)(1) (D.I. 4) is GRANTED.

       4.      As this Court sees no basis to assert subject matter jurisdiction over the remaining

counts, this matter is REMANDED to the Superior Court of the State of Delaware in and for Sussex

County.



                                                     The Honorable Maryellen Noreika
                                                     United States District Judge
